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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                   )    Chapter 11
In re:                                             )
                                                   )    Case No. 19-19-11791 (BLS)
                             1
LOOT CRATE, INC., et al.,                          )
                                                   )    (Jointly Administered)
                             Debtors.              )
                                                   )    Related Docket No(s). 27, 84
                                                   )
                                                   )

ORDER (A) APPROVING BID PROCEDURES FOR THE SALE OF SUBSTANTIALLY
   ALL OF THE DEBTORS’ ASSETS, (B) APPROVING RELATED CONTRACT
   ASSUMPTION AND ASSIGNMENT PROCEDURES, (C) AUTHORIZING THE
 DEBTORS TO ENTER INTO STALKING HORSE AGREEMENT AND APPROVING
   CERTAIN BID PROTECTIONS, (D) SCHEDULING A SALE HEARING, AND
               (E) GRANTING CERTAIN RELATED RELIEF

         Upon the motion (the “Motion”)2 of the above-debtors and debtors in possession

(collectively, the “Debtors”) for entry of this Order, pursuant to Sections 105(a), 363, 365, and 503

of the Bankruptcy Code, Rules 2002, 6003, 6004, 6006, 9007, 9008 and 9014 of the Bankruptcy

Rules, and Rule 2002-1, 6004-1 and 9006-1 of the Local Rules, authorizing various types of relief

in conjunction with the proposed sale of substantially all of their Assets, as further described in

the Motion; and this Court having jurisdiction to consider the Motion and the relief requested

therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated as of February

29, 2012; and consideration of the Motion and the relief requested therein being a core proceeding



1
        The Debtors are the following four entities (the last four digits of their respective taxpayer
identification numbers, if any, follow in parentheses): Loot Crate, Inc. (7119); Loot Crate
Holdings, Inc.; LC Funding, Inc.; and Loot Crate Parent, Inc. The Debtors’ noticing address in
these Chapter 11 cases is 3401 Pasadena Avenue, Los Angeles, CA 90031.
2
      Capitalized terms not otherwise defined herein have the meanings ascribed to them in the
Motion.


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in accordance with 28 U.S.C. § 157(b)(2)(A) and (M); and venue being proper in this District

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion being adequate

and appropriate under the particular circumstances; and upon the record of any hearing held to

consider the relief requested in the Motion; and upon the First Day Declaration and all proceedings

had before this Court; and this Court having found and determined that the relief sought in the

Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in interest

and that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and there being good cause to waive the 14-day stay imposed by Bankruptcy Rule 6004(h)

and 6006(d) to the extent applicable; and any objections to the requested relief having been

withdrawn or overruled on the merits; and after due deliberation, and sufficient cause appearing

therefore,

IT IS HEREBY ORDERED THAT:

          1.    The Motion is GRANTED as set forth herein.

          2.    All objections to the relief provided herein that have not been withdrawn, waived,

or settled, and all reservations of rights included therein, hereby are overruled and denied on the

merits.

          3.    The Bid Procedures attached hereto as Exhibit 1 are fair, reasonable, and

appropriate under the circumstances and designed to maximize recovery on, and realize value of,

the Debtors’ Assets and are therefore approved. The Bid Procedures shall govern the submission,

receipt, and analysis of all bids relating to the Sale and any party desiring to submit a bid shall do

so strictly in accordance with the terms of the Bid Procedures and this Order.

          4.    The form of notice of the Auction and the Sale attached to the Motion as Exhibit B

and as modified for any immaterial changes or to be consistent with this Order (the “Sale Notice”)

is reasonably calculated to provide all interested parties with timely and proper notice of the
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proposed Sale and is therefore approved. Within one day after the entry of this Order, or as soon

thereafter as practicable (the “Mailing Date”), the Debtors (or their agents) shall serve the Sale

Notice by e-mail (if known) and first-class mail, postage prepaid, upon: (a) the U.S. Trustee; (b)

the Securities & Exchange Commission; (c) the Internal Revenue Service; (d) the Delaware State

Treasury; (e) the Delaware Secretary of State; (f) counsel to the Unsecured Creditors’ Committee;

(g) counsel to the DIP Lender; (h) Wells Fargo Bank, National Association; (i) U.S. Attorney’s

Office for the District of Delaware; (j) any party known or reasonably believed to have asserted

any lien, claim, or encumbrance or other interest in the Debtors’ Assets; (k) any party known or

reasonably believed to have expressed an interest in acquiring some or substantially all of the

Debtors’ Assets; (l) any parties that have requested notice in these Cases pursuant to Bankruptcy

Rule 2002; and (m) all Taxing Authorities. Such notice shall be sufficient and proper notice of the

Sale with respect to known interested parties and no other or further notice of the Auction or the

Sale Hearing (as defined below) to such parties shall be required.

        5.     Publication Notice. Pursuant to Fed. R. Bankr. P. 2002 and 6004, publication of

the Sale Notice (as may be modified for publication purposes) as the Debtors deem appropriate on

the Mailing Date or as soon as practicable thereafter constitutes sufficient notice to any other

interested parties whose identities are unknown to the Debtors and no other or further notice of the

Auction or the Sale Hearing to such parties shall be required.

        6.     The hearing to approve the Sale of the Debtors’ Assets (the “Sale Hearing”) will

be held on September 26, 2019 at 12:00 p.m. (ET) which may be adjourned for any reason. Any

such adjournment shall be effective upon the filing of a notice of adjournment or the making of an

announcement at the Sale Hearing. No further notice of any such adjournment or continuance will

be required to be provided to any party.


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        7.     The deadline for filing an objection to the Sale, except for objections as to the

conduct of the Auction, shall be September 20, 2019 at 4:00 p.m. (ET) (the “Sale Objection

Deadline”). Objections, if any, shall be in writing, filed with the Court and served by the Sale

Objection Deadline upon: (i) co-counsel to the Debtors: (a) Bryan Cave Leighton Paisner LLP,

1201 W. Peachtree Street, NW, 14th Floor, Atlanta, Georgia 30309-3471 (Attn: Mark I. Duedall),

mark.duedall@bclplaw.com; and (b) Robinson & Cole LLP, 1000 N. West Street, Suite 1200,

Wilmington, Delaware 19801 (Attn: Jamie L. Edmonson), jedmonson@rc.com; (ii) counsel to the

Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington,

Delaware 19801 (Attn: Benjamin Hackman), benjamin.a.hackman@usdoj.gov; (iii) counsel to the

DIP Lender, Cooley LLP, 55 Hudson Yards, New York, NY 10001 (Attn: Cathy Hershcopf and

Robert Winning), chershcopf@cooley.com and rwinning@cooley.com, and Bayard, P.A., 600 N.

King Street, Wilmington, Delaware 19806 (Attn: Erin R. Fay), efay@bayardlaw.com; and (iv)

counsel to the Creditors’ Committee, Morris James LLP, 500 Delaware Avenue, Suite 1500,

Wilmington, Delaware 19801 (Attn: Jeffrey R. Waxman, Eric J. Monzo, and Brya M. Keilson)

jwaxman@morrisjames.com,        emonzo@morrisjames.com,           and    bkeilson@morrisjames.com

(collectively, the “Objection Notice Parties”).

        8.     The deadline for filing any objection to the conduct of the Auction shall be

September 25, 2019 at 4:00 p.m. (ET), and any such objection shall be served upon the Objection

Notice Parties by that date and time.

        9.     The deadline for submitting a Qualified Bid shall be September 23, 2019 at 5:00

p.m. (ET) (the “Bid Deadline”).




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        10.    As soon as practicable after the Bid Deadline, but no later than 9:00 a.m. (ET) on

September 24, 2019, the Debtors shall alert parties submitting bids as to whether more than one

Qualified Bid has been received and whether the Debtors will proceed with the Auction.

        11.    If only one Qualified Bid or no Qualified Bid is received by the Bid Deadline, then

the Debtors may decide to not hold the Auction. If more than one Qualified Bid is received by the

Bid Deadline, then the Debtors shall conduct the Auction. The Auction shall commence on

September 24, 2019 at 12:00 p.m. (ET) at the offices of Bryan Cave Leighton Paisner, LLP, 1290

Avenue of the Americas, New York, NY 10104-3300, or such later time (after consultation with

the Consultation Parties) or other place as the Debtors shall timely notify the Qualified Bidders.

The Debtors, in consultation with the Consultation Parties, may conduct the auction telephonically.

        12.    As soon as practicable after the Auction, but no later than one day after conclusion

of the Auction, the Debtors shall provide electronic notice of the results thereof on the docket of

these Cases. Such notice will indicate the identity of the Successful Bidder(s) and any Back-up

Bidder(s) and may be supplemented by a later notice attaching the proposed form of asset purchase

agreement(s) and auction transcript.

        13.    With respect to the Executory Contracts, no later than one business day after entry

of this Order, the Debtors will file with the Court and serve by first class mail on each counterparty

to an Executory Contract which the Debtors may assign (the “Counterparty”) a notice setting forth

the amount of cure owed thereunder according to the Debtors books and records (the “Cure

Notice”). The Cure Notice shall state: (i) the cure amount that the Debtors believe is necessary to

assume such contract or lease pursuant to Section 365 of the Bankruptcy Code (the “Cure

Amount”); (ii) notify each Counterparty that such Counterparty’s lease or contract may be

assumed and assigned to the Successful Bidder to be identified at the conclusion of the Auction;


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(iii) state the date of the Sale Hearing; and (iv) state the deadline by which the Counterparty shall

file an objection to the Cure Amount.

        14.    The form of the Cure Notice attached to the Motion as Exhibit C is reasonably

calculated to provide Counterparty with proper notice of the intended assumption and assignment

of the Executory Contracts, any Cure Amounts relating thereto, and procedures for objecting to

assumption or assignment of the Executory Contracts.

        15.    The deadline for filing an objection (a “Cure Objection”) to the Cure Amounts shall

be September 20, 2019 at 4:00 p.m. (ET) (the “Cure Objection Deadline”). Objections, if any,

shall be in writing, filed with the Court and served upon the Objection Notice Parties, so that they

are actually received on or before the Cure Objection Deadline. Any objection to a Cure Amount

must state with specificity what cure the Counterparty believes is required with appropriate

documentation in support thereof. If no objection is timely received, the Cure Amount set forth

on the Cure Notice shall be controlling notwithstanding anything to the contrary in any Executory

Contract or other document as of the date of the Cure Notice. Any objections not resolved by the

Sale Hearing may be adjourned to a later hearing date as fixed by the Court.

        16.    A Counterparty may seek additional adequate assurance information by emailing

its request (and explicitly agreeing in writing that it will keep any information it receives

confidential) to counsel for the Debtors, Mark I. Duedall (mark.duedall@bclplaw.com) and Jamie

L. Edmonson (jedmonson@rc.com) at least one day prior to the Auction. Counsel for the Debtors

will email adequate assurance packages to those parties as soon as practicable but no later than

one day after the Auction.

        17.    The deadline for filing an objection (an “Adequate Assurance Objection”) to the

assumption and assignment of an Executory Contract by the Stalking Horse Bidder (as defined


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below) on the basis of a lack of adequate assurance of future performance shall be September 20,

2019 at 4:00 p.m. (ET) (the “Adequate Assurance Objection Deadline”). Objections, if any,

shall be in writing, filed with the Court and served upon the Objection Notice Parties, so that they

are actually received on or before the Adequate Assurance Objection Deadline. Any objections

not resolved by the Sale Hearing may be adjourned to a later hearing date as fixed by the Court.

To the extent a party other than the Stalking Horse Bidder is the Successful Bidder and the Debtors

receive approval to sell their Assets to such party by a separate order of this Court, then a

subsequent notice shall be sent with a new Adequate Assurance Objection Deadline.

        18.    Any Counterparty who does not file a timely Cure Objection or Adequate

Assurance Objection shall be deemed to have consented to the cure amount stated in the Cure

Notice and the assumption and assignment of its Executory Contract to the Successful Bidder and

will be forever barred from objecting to such assumption and assignment on account of the Cure

Amount, lack of adequate assurance or any other grounds.

        19.    The hearing with respect to any Cure Objections and/or Adequate Assurance

Objections may be held: (i) at the Sale Hearing; or (ii) on such other date as the Bankruptcy Court

may designate. To the extent the Debtors and a Counterparty are able to consensually resolve a

Cure Objection or Adequate Assurance Objection prior to the Sale Hearing, the Debtors shall

promptly provide notice to the Committee, the U.S. Trustee and the Successful Bidder, as

applicable, of such resolution.

        20.    The Debtors have entered into the stalking horse purchase agreement (the

“Stalking Horse Agreement”) with Loot Crate Acquisition LLC (“LCA”), attached as Exhibit A

to the Notice of Filing of Executed Stalking Horse Agreement [D.I. 131]. The Stalking Horse




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Agreement shall be subject to higher or better offers at the Auction and shall establish a minimum

bid at the Auction for the Assets included in the Stalking Horse Agreement.

        21.     LCA shall, if the Stalking Horse Agreement is terminated in a manner set forth

therein, be entitled to reimbursement of its actual, documented, out-of-pocket expenses incurred

in connection with its pursuit of the Sale (the “Expense Reimbursement”), provided that (a) no

such expenses shall be paid if they were already paid to LCA or any affiliate of LCA in respect

of the post-petition financing provided to the Debtors, and (b) notwithstanding anything to the

contrary contained in the Stalking Horse Agreement with LCA, LCA shall not be entitled to any

break-up fee or other bid protections, other than the Expense Reimbursement.

        22.     The Bid Procedures (including the Expense Reimbursement) are fair and

reasonable, are reasonably calculated to produce the best and highest offers for the Assets and will

confer actual benefits upon the Debtors’ estates. The Bid Procedures (including the Expense

Reimbursement) represent an exercise of the sound business judgment of the Debtors and will

facilitate an orderly sale process.

        23.     LCA shall be considered a Qualified Bidder with respect to its rights to acquire all

or any of the assets by credit bid under its Stalking Horse Agreement, and any such credit bid

submitted by LCA shall be deemed a Qualified Bid.

        24.     The requirements of Local Rule 6004-1(b) with respect to the filing of the Stalking

Horse Agreement, or a copy of any other proposed purchase agreement, are hereby waived. The

Debtors shall file a form of Sale Order as soon as practicable prior to a Sale Hearing.

        25.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.




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         26.    Notwithstanding the possible applicability of Bankruptcy Rule 6004(h) or

otherwise, the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry and the requirements of Bankruptcy Rule 6004(h) are hereby waived.

         27.    This Court shall retain exclusive jurisdiction with respect to any and all matters,

claims, rights, or disputes arising from or related to the implementation or interpretation of this

Order.




                                            BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
Dated: September 11th, 2019
                                            JUDGE
Wilmington, Delaware




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                                     EXHIBIT 1

                                    Bid Procedures




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                   )    Chapter 11
In re:                                             )
                                                   )    Case No. 19-11791 (BLS)
                             1
LOOT CRATE, INC., et al.,                          )
                                                   )    (Jointly Administered)
                             Debtors.              )
                                                   )    Related Docket No(s). 27
                                                   )

                                        BID PROCEDURES

        These Bid Procedures (the “Bid Procedures”) have been approved by an order of the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) entered on
________, 2019 (the “Bid Procedures Order”) in the above-captioned jointly administered
Chapter 11 cases of Loot Crate, Inc. and certain of its affiliates, as debtors and debtors in
possession in the above-captioned cases (the “Debtors”). These Bid Procedures set forth the
process by which the Debtors are authorized to conduct the auction (the “Auction”) for the sale of
a portion or substantially all of the Debtors’ assets (the “Assets”) pursuant to Section 363 of the
Bankruptcy Code (the “Sale”).

    Copies of the Bid Procedures Order, and other documents related thereto are available
    free of charge on the website of the Debtors’ noticing and claims agent at
    https://cases.stretto.com/lootcrate.


A.       Bidder Requirements.

       A party must submit the following documents in order to be a “Qualified Bidder”2 and be
allowed to participate in the bidding process and receive access to conduct due diligence:

         i.     an executed confidentiality agreement on terms reasonably acceptable to the
                Debtors (a “Confidentiality Agreement”);

         ii.    proof by the bidder (the “Proposed Bidder”) of its financial capacity to close a

1
        The Debtors are the following four entities (the last four digits of their respective taxpayer
identification numbers, if any, follow in parentheses): Loot Crate, Inc. (7119); Loot Crate
Holdings, Inc.; LC Funding, Inc.; and Loot Crate Parent, Inc. The Debtors’ noticing address in
these Chapter 11 cases is 3401 Pasadena Avenue, Los Angeles, CA 90031.
2
         Loot Crate Acquisition LLC (“LCA”) shall be considered a Qualified Bidder with respect
to its rights to acquire all or any of the assets by credit bid, and any such credit bid submitted by
LCA shall be deemed a Qualified Bid (as defined herein). Notwithstanding the foregoing, all of
the parties’ rights are reserved under Section 363(k) of the Bankruptcy Code, except as otherwise
provided in the DIP Order.

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                proposed transaction, including payment of any cure amount with respect to any
                contract that may be assigned with respect to the Sale, which may include current
                unaudited or verified financial statements of, or verified financial commitments
                obtained by, the Proposed Bidder (or, if the Proposed Bidder is an entity formed for
                the purpose of acquiring the property to be sold, the party that will bear liability for
                a breach), the adequacy of which the Debtors and its advisors will determine in
                consultation with: (i) Money Chest, LLC (the “DIP Lender”), but only if Loot
                Crate Acquisition LLC (“LCA”) (or any affiliate thereof) is no longer bidding for
                the Assets; and (ii) the official committee of unsecured creditors (the “Committee”
                and, together with the DIP Lender (but subject to the same limitation whereby the
                DIP Lender shall only have any such rights if LCA (or any affiliate thereof) is no
                longer bidding for the Assets), the “Consultation Parties”).

B.      Bid Requirements.

        In order to be eligible to participate in the Auction, a Qualified Bidder must, on or before
the September 23, 2019 at 5:00 p.m. (ET) (the “Bid Deadline”) deliver a written and executed
copy of an asset purchase agreement and ancillary documents by which the potential bidder offers
to purchase some or all of the Assets at a purchase price and upon the terms and conditions set
forth therein and which provides, or otherwise complies with, the items noted below (any such
offer, a “Qualified Bid” and the corresponding documents submitted therewith, the “Bid
Documents”):

        i.      Identifies the Assets (or the portion thereof) to be purchased, including any
                Executory Contracts that would be assumed and assigned in connection with the
                proposed transaction;

        ii.     Identifies, if applicable, the proposed form of adequate assurance of future
                performance with respect to any Executory Contracts that would be assumed and
                assigned in connection with the proposed transaction;

        iii.    Proposes a purchase price that is a higher and / or better offer for the Assets (or the
                portion thereof) to be purchased; provided, however, than an offer shall not be
                considered a higher and / or better offer unless such offer proposes a purchase price
                that is equal to or greater than (a) the Purchase Price (as defined in the Stalking
                Horse Agreement) as set forth in the Stalking Horse Agreement, plus (b) an initial
                overbid equal to $1,000,000, plus (c) the Expense Reimbursement (as defined in the
                Stalking Horse Agreement), subject to the terms of the Stalking Horse Agreement and the
                Bid Procedures Order;

        iv.     Constitutes a binding proposal regarding the assets sought to be acquired and the
                consideration to be paid;

        v.      Remains irrevocable until 48 hours after the Sale Hearing (as defined below);

        vi.     Other than as agreed by the Debtors in connection with seeking approval of
                protections for a Stalking Horse Bidder (as defined below), is not subject to any
                breakup fee, transaction fee, termination fee, expense reimbursement or any similar
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                type of payment or reimbursement; and

        vii.    Is accompanied by a good faith deposit in the amount of 10% of the proposed
                purchase price (a “Good Faith Deposit”).3

        A Qualified Bid shall not be conditioned on the obtaining or the sufficiency of financing
or any internal approval, or on the outcome of due diligence review.

        The Bid Documents shall be delivered to the following parties:


    The Debtors’ Chief Restructuring Officer:         Counsel to the DIP Lender:
    Portage Point Partners                            Cooley LLP
    Stuart Kaufman                                    Cathy Hershcopf
    300 North LaSalle                                 Robert Winning
    Suite 4925                                        55 Hudson Yards
    Chicago, IL 60654                                 New York, NY 10001
    skaufman@pppllc.com                               chershcopf@cooley.com
                                                      rwinning@cooley.com
    The Debtors’ Chief Transformation
    Officer:                                          Co-Counsel to the DIP Lender:
    Mark Palmer                                       Bayard, P.A.
    Chief Transformation Officer                      Erin R. Fay
    Theseus Strategy Group LLC                        600 N. King Street
    Mark@TheseusStrategy.com                          Wilmington, DE 19806
                                                      efay@bayardlaw.com
    The Debtors’ Investment Banker:
    FocalPoint Securities, LLC                        Counsel to the Creditors’ Committee:
    Michael Fixler                                    Morris James LLP
    150 N. Riverside Plaza                            Jeffrey R. Waxman
    Suite 2820                                        Eric J. Monzo
    Chicago, IL 60606                                 Brya M. Keilson
    mfixler@focalpointllc.com                         500 Delaware Avenue
                                                      Suite 1500
                                                      Wilmington, DE 19801
                                                      jwaxman@morrisjames.com,
                                                      emonzo@morrisjames.com, and
                                                      bkeilson@morrisjames.com

    The Debtors’ Co-Counsel:                          The Debtors’ Co-Counsel:
    Bryan Cave Leighton Paisner LLP                   Robinson & Cole LLP
    Andrew J. Schoulder                               Jamie L. Edmonson
    Mark I. Duedall                                   1000 N. West Street, Suite 1200
    1201 W. Peachtree Street, NW, 14th Floor          Wilmington, Delaware 19801
    Atlanta, GA 30309-3471                            jedmonson@rc.com

3
        No deposit is required for the credit bid represented by the LCA Stalking Horse Agreement.
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  andrew.schoulder@bclplaw.com
  mark.duedall@bclplaw.com

        The Debtors shall provide copies of all Qualified Bids to the Consultation Parties as soon
as reasonably practicable after such bids have been received by the Debtors. The Debtors will be
authorized to approve joint bids in the Debtors’ exercise of their reasonable good faith business
judgment.

       Prior to the Auction, the Debtors shall determine, in consultation with their advisors and
the Consultation Parties and notify each Proposed Bidder whether such Proposed Bidder is deemed
a “Qualified Bidder” and has submitted acceptable Bid Documents such that their bid is deemed a
“Qualified Bid.”

C.      Credit Bidding.

        LCA shall be deemed a Qualified Bidder and shall not be required to provide a Good Faith
Deposit. LCA may participate in the Auction and to the extent as may be provided in the Final
DIP Order, may credit bid at any time up to the conclusion of the Auction, in its sole and absolute
discretion, any portion and up to the entire amount of its pre-petition or post-petition claims and
Expense Reimbursement (a “Credit Bid”). LCA shall only be required to be a Back-Up Bidder
(as defined below) through October 1, 2019.

D.      Access to Due Diligence.

       Only Qualified Bidders shall be eligible to receive due diligence and access to additional
non-public information. The Debtors along with their advisors shall coordinate all reasonable
requests for additional information and due diligence access from Qualified Bidders; provided,
however, the Debtors may decline to provide such information to Qualified Bidders who, in the
Debtors’ reasonable business judgment and following consultation with the Consultation Parties,
have not established that such Qualified Bidders intend in good faith to, or have the capacity to,
consummate a Qualified Bid.

        Each Qualified Bidder shall be deemed to acknowledge and represent that it has had an
opportunity to conduct any and all due diligence regarding the Debtors’ assets and liabilities that
are the subject of the Auction prior to making any such bids; that it has relied solely upon its own
independent review, investigation and/or inspection of any documents and/or the assets in making
its bid; and that it did not rely upon any written or oral statements, representations, promises,
warranties or guaranties whatsoever, whether express, implied, by operation of law or otherwise
regarding the Debtors’ assets or liabilities, or the completeness of any information provided in
connection therewith, except as expressly stated in these Bid Procedures. Neither the Debtors nor
any of their employees, officers, directors, affiliates, subsidiaries, representatives, agents, advisors
or professionals are responsible for, or shall bear any liability with respect to, any information
obtained by Proposed Bidders in connection with the Sale.




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E.      Auction.

        If only one Qualified Bid or no Qualified Bid is received by the Bid Deadline, then the
Debtors may decide to not hold the Auction. If more than one Qualified Bid is received by the
Bid Deadline, then the Debtors shall conduct the Auction. The Auction shall commence on
September 24, 2019 at 12:00 p.m. (ET) at the offices of Bryan Cave Leighton Paisner, LLP, 1290
Avenue of the Americas New York, NY 10104-3300 or such later time (after consultation with the
Consultation Parties) or other place as the Debtors shall timely notify the Qualified Bidders. The
Debtors, in consultation with the Consultation Parties, may conduct the auction telephonically.
Parties other than Qualified Bidders and the Consultation Parties that wish to attend the Auction
must provide the Debtors’ counsel with notice of such intent by September 20, 2019 at 12:00 p.m.
(ET).

      The Auction will be conducted in accordance with the following procedures (the “Auction
Procedures”):

        i.      only the Qualified Bidders shall be entitled to bid at the Auction;

        ii.     after consulting with the Consultation Parties, the Debtors will announce the
                starting bid (the “Starting Auction Bid”) at the commencement of the Auction;

        iii.    any bid made by a Qualified Bidder at the Auction subsequent to the Debtors’
                announcement of the Starting Auction Bid (an “Overbid”) shall be made in
                increments valued at not less than $100,000 over the Starting Auction Bid or then
                highest or otherwise best Overbid, as applicable, which may be modified as
                necessary to the extent the Debtors deem appropriate, after consultation with the
                Consultation Parties;

        iv.     each Qualified Bidder will be informed of the terms of the previous bids;

        v.      the bidding may be transcribed or videotaped to ensure an accurate recording of the
                bidding at the Auction;

        vi.     each Qualified Bidder will be required to confirm on the record of the Auction that
                it has not engaged in any collusion with respect to the bidding or the Sale; and

        vii.    absent irregularities in the conduct of the Auction, the Bankruptcy Court will not
                consider bids made after the Auction is closed; and the Auction shall be governed
                by such other Auction Procedures as may be announced by the Debtors after
                consultation with its advisors and the Consultation Parties from time to time on the
                record at the Auction.

F.      Selection of the Successful Bid.

       Upon the conclusion of the Auction (if such Auction is conducted), the Debtors, in          the
exercise of their reasonable, good-faith business judgment, and in consultation with               the
Consultation Parties, shall identify the highest or otherwise best Qualified Bid(s) that in        the
exercise of their fiduciary duties the Debtors in good faith believe is in the best interests of   the
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Debtors’ estates and stakeholders, which will be determined by considering, among other things:

        i.      the total expected consideration to be received by the Debtors;

        ii.     the likelihood of the Qualified Bidder’s ability to close a transaction and the timing
                thereof; and

        iii.    the expected net benefit to the estate.

       The Qualified Bidder(s) having submitted a Successful Bid(s) will be deemed the
“Successful Bidder(s).” The Debtors, in consultation with the Consultation Parties may also
designate the Back-Up Bid (as defined below). The Successful Bidders and the Debtors shall, as
soon as commercially reasonable and practicable, complete and sign all agreements, contracts,
instruments or other documents evidencing and containing the terms upon which such Successful
Bids were made.

         As soon as reasonably practicable following the Auction, but no later than one day after
conclusion of the Auction, the Debtors will file a notice of Successful Bidder(s) with the
Bankruptcy Court. The Debtors will present the results of the Auction to the Bankruptcy Court at
the Sale Hearing, at which certain findings will be sought from the Bankruptcy Court regarding
the Auction, including, among other things, that: (a) the Auction was conducted, and the
Successful Bidder(s) was selected, in accordance with these Bid Procedures; (b) the Auction was
fair in substance and procedure; (c) the Successful Bid was a Qualified Bid as defined in these Bid
Procedures; and (d) consummation of the Successful Bid will provide the highest or otherwise best
value for the Debtors’ assets and is in the best interests of the Debtors’ estates.

G.      Sale Hearing.

        A hearing to consider approval of the Successful Bid(s) (the “Sale Hearing”) is presently
scheduled to take place on September 26, 2019 at 12:00 p.m. (ET), or as soon thereafter as counsel
may be heard. The Sale Hearing may be adjourned to a later date by the Debtors for any reason.
Any such adjournment shall be effective upon the filing of a notice of adjournment or the making
of an announcement at the Sale Hearing. No further notice of any such adjournment or continuance
will be required to be provided to any party.

H.      Designation of Back-Up Bidder.

       If for any reason the Successful Bidder fails to consummate the Successful Bid within the
time permitted after the entry of the Sale Order approving the Sale to the Successful Bidder, then
the Qualified Bidder with the second highest or otherwise best Bid (the “Back-Up Bidder”), as
determined by the Debtors after consultation with their advisors, and in consultation with the
Consultation Parties, at the conclusion of the Auction and announced at that time to all the
Qualified Bidders participating therein, will automatically be deemed to have submitted the highest
or otherwise best bid (the “Back-Up Bid”), provided, however, that as set forth above, under no
circumstances (absent its express, written consent) shall LCA be a Back-Up Bidder beyond
October 1, 2019.

        The Debtors will be authorized, but not required, to consummate the transaction pursuant
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to the Back-Up Bid as soon as is commercially reasonable without further order of the Bankruptcy
Court upon at least twenty-four hours advance notice, which notice will be filed with the
Bankruptcy Court. Upon designation of the Back-Up Bidder at the Auction, the Back-Up Bid shall
remain open until the closing of the Successful Bid.

I.      Return of Good Faith Deposit.

        The Good Faith Deposit of the Successful Bidder shall, upon consummation of the
Successful Bid, be credited to the purchase price paid for Debtors’ Assets. If the Successful Bidder
fails to consummate the Successful Bid, then the Good Faith Deposit shall be forfeited to, and
retained irrevocably by, the Debtors.

        The Good Faith Deposit of any unsuccessful Qualified Bidders will be returned within ten
days after consummation of the Sale.

J.      Stalking Horse Agreements and Bid Protections.

        The Debtors have entered into a stalking horse purchase agreement (the “Stalking Horse
Agreement”) with LCA, attached as Exhibit A to the Notice of Filing of Executed Stalking Horse
Agreement [D.I. 131]. Pursuant to the Stalking Horse Agreement between the Debtors and LCA,
LCA shall be entitled to an Expense Reimbursement (as defined in the Stalking Horse Agreement)
in the amount of up to $750,000, subject to the terms of the Stalking Horse Agreement and the Bid
Procedures Order. The Stalking Horse Agreement shall be subject to higher or better offers at the
Auction and shall establish a minimum bid at the Auction for the Assets included in the Stalking
Horse Agreement.

K.      Consent to Jurisdiction.

        All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
of the Bankruptcy Court and waived any right to a jury trial in connection with any disputes
relating to the Auction, the construction and enforcement of the Bid Procedures and/or the
Qualified Bid, as applicable.

L.      Reservation of Rights.

        The Debtors reserve their rights to modify these Bid Procedures, in consultation with the
Consulting Parties, in any manner that will best promote the goals of the bidding process or impose,
at or prior to the Auction, additional customary terms and conditions on the Sale.

        Notwithstanding anything herein or in the Bid Procedures Order to the contrary, nothing
will in any way impair or enhance, alter or otherwise affect any and all rights that any secured
lender may have to “credit bid” pursuant to Section 363(k) of the Bankruptcy Code or other
applicable law. For the avoidance of doubt, every dollar of a credit bid shall be treated the same
as a dollar from a cash bid and a cash bid shall not be deemed higher or otherwise better solely for
the reason it is a cash bid and not a credit bid.




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